  Case 15-00595      Doc 9  Filed 11/03/15 Entered 11/04/15 15:50:25           Desc Main
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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF ILLINOIS
                                    Eastern Division

In Re:                                             )   BK No.:     15-20195
                                                   )
                                                   )   Chapter: 13
Jerome E Ball                                      )
                                                       Honorable Carol Doyle
                                                   )
                                                   )
                                  Debtor(s)        )
                                                   )   Adv. No.: 15-00595
Chicago Patrolmen's Federal Credit Union           )
                                                   )
                                  Plaintiff(s)
                v.                                 )
                                                   )
Jerome E Ball
                                                   )
                                  Defendant(s)     )

         ORDER GRANTING ENTRY OF DEFAULT AND DEFAULT JUDGMENT FINDING DEBT
                                NONDISCHARGEABLE

       This cause comes before the Court on the motion of Plaintiff, Chicago
Patrolmen's Federal Credit Union, made pursuant to Federal Rule of Civil Procedure
55, incorporated through Federal Rule of Bankruptcy Procedure 7055, for entry of
default and default judgment, due notice having been given and the Court being
fully advised in the premises;

    IT IS HEREBY ORDERED:

    1. That default is hereby entered against the Defendant, Jerome E Ball; and

    2. That a default judgment is hereby entered against the Defendant, Jerome E
Ball and the debt owed to Plaintiff is found nondischargeable pursuant to 11 U.S.C.
§523, §523(a)(2)(A), and §523(a)(2)(B).




                                                 Enter:


                                                           Honorable Eugene R. Wedoff

Dated: November 03, 2015                                   United States Bankruptcy Judge

 Prepared by:
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